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Q A O 245B    (Rev. 06105) Judgment in a Criminal Case
              Sheet 1




                          Southern                                District o f                                   Illinois

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                              v.
                VINCENT D. WILLIAMS
                                                                          Case Number:         4:05CR40031-001-JPG

                                                                          USM Number: 06699-025
                                                                           Melissa Day, FPD
                                                                          Defendant'sAnomey
THE DEFENDANT:
dPleaded guilty to count(s)           1 of the Indictment.
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty o f these offenses:




       The defendant is sentenced as provided i n pages 2 through             10          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act o f 1984.
   The defendant has been found not guilty on count(s)

   Count($                                                   is       are dismissed on the motion o f the United States.

         I t i s ordered that the del'endant mu\l notif) the ilnitcd Statssxtorney t i ~ thisdibtrict
                                                                                         r            within 30dd ,s ul'an) change of namc, residence,
or mailingadJress until all lines, restitution, custs, and special asscwncnts imposed h\ thi\iu$msm are l'uil) paid. Ifordered to pay restitution,
ths JefenJant must nutif) thc coun anJ United Statts ~ltturney( ~ i m a t e r ichanges
                                                                                ~l         in ccmomlc clrsbmstanccs.




                                                                           J. Phil Gilbert                              District Judge
                                                                          Name of Judge                               Title of Judge
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A 0 2458      (Rev. 06/03Judgment in Criminal Case
              Sheet 2 -Imprisonment
                                                                                                       Judgment - Page 2 of      10
DEFENDANT: VINCENT D. WILLIAMS
C A S E NUMBER: 4:05CR40031-001-JPG




         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term o f

  240 months on Count 1 of the Indictment.



      I$ The court makes the following recommendations to the Bureau of Prisons:
  That the defendant b e placed in the Intensive Drug Treatment Program.



      I$ The defendant is remanded to the custody of the United States Marshal
           The defendant shall surrender to the United States Marshal for this district:

           0 at                                    a.m.          0 p.m.       on
           0 as notified by the United States Marshal.
      0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        0 before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                   , with a certified copy of this judgment.


                                                                                                     UNITED STATES MARSHAL


                                                                            BY
                                                                                                  DEPUTY UNITED STATES MARSHAL
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A 0 2458     (Rw. 06105) Judwent in a Criminal Case
             sheet 3 s u p e r & Release
                                                                                                           Judgment-Page
                                                                                                                             3 0 f             10
 DEFENDANT: VINCENT D. WILLIAMS
 CASE NUMBER: 4:05CR40031-001-JPG
                                                        SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

  1 0 years on Count 1 of the Indictment



      The defendant must report to the probation offtce in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prtsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a f i r e m , ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 @ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~aymentssheet of thts judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation off~cerand follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the detknrldnt shall relidin from cucr.ss~\euse oialcoh,,l and shall not purchase, possess. use, dinrihute, or adn~inistcran!
           controlled suhstanc: or an! pmph:mdia rclatcj to an! sontr,)lled substances, except as prescribed b) a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the profation officer;
           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      asdirected hy the rohation utticcr, the ?stendant shdl noriiv third panic\ of rihks that mdy he ociasioneJ hy the defendant's criminal
           record or          histog or chardclmstl$s n d shall permit the prohation ofiicer 10 mdke such notifications and 10 confirm the
           JcfenJant s compliance with s ~ c hnouti~dtlonrequirvment.
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DEFENDANT: VINCENT D. WILLIAMS
CASE NUMBER: 4:05CR40031-001-JPG

                                          SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installment of $10.00 or ten percent
 of his net monthly income, whichever is greater.

 The defendant shall provide the probation officer and the Financial litigation Unit of the United States Attorney's Office with
 access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence and/or participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Offtce. Co-pay shall never exceed the total
 costs of counseling.

 The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such
 time as the defendant is released from the program by the probation officer, to address issues of domestic violence.

 The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search Dursuant to this condition.
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A 0 245B    (Rev. 06105) Judgment in a Criminal Case
            Sheet 5 -Criminal Monetaty Penalties
                                                                                                         Judgment -Page
                                                                                                                                  5       Of          10
 DEFENDANT: VINCENT D. WILLIAMS
 CASENUMBER: 4:05CR40031-001-JPG
                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                          Fine                                  Restitution
 TOTALS             $ 100.00                                            % 200.00                              % 0.00


     The determination of restitution is deferred until    -. An Amended Judgmenl in a Criminal Case ( A 0 245C) will be entered
     after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      Ifthe defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise in
      the priority order or percentage payment co~umnte~ow.   However, pursuant to 18 Qs.8. 5 3664&, all nonfederal vlctlms must be paid
      before the United States IS pa~d.

 Name of Pyvce                                                                                   Re~litulionOrdered          Prioritv. or. Pcrccntaee
                                                                                                                            . .
                                       . .                                                                          . . . . :. .. .,. :,,;.
                                                                                                                                         . . . .A.$,,.*);
                                                                                                                                                  .....
                                                                                                                          . ,        .         .. . . .".B
                                                                                                                                                       .




 TOTALS                                $                        0.00            $                       0.00


       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to I8 U.S.C. 5 3612(0. All of the payment options on Sheet 6 may he subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 3612(g).

       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       @f the interest requirement is waived for the           @ fine           restitution.
            the interest requirement for the            fine           restitution is modified as follows:



 * Findings for the total amount of losses are re uired under Chapters 109A, 110, IlOA, and 113A of Title 18 for offenses committed on or after
 September 13,1994, but before April 23,1998.
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A 0 2458    (Rev. 06105) Judgment in a Criminal Case
            Sheet 6 -Schedule of Paymenu
                                                                                                          Judgment-Page        6     of        10
 DEFENDANT:
 - --
    -~      VINCENT D. WILLIAMS
 CASE NUMBER: 4:05CR40031-001-JPG

                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A      @ Lump sum payment of $                                due immediately, balance due

             C]   not later than                                    , or
             C]   in accordance                 C,      D,     C]    E, or        F below; or

 B      C] Payment to begin immediately (may be combined with                C,        C] D, or       F below); or

 C          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D          Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                          (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E           Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F      @ Special instructions regarding the payment of criminal monetary penalties:
             While on supervised release the defendant shall make monthly payments in the amount of $10.00 or ten percent
             of his net monthly income, whichever is greater.




 llnless theuwn hi~sc\pres\l orderedtithen\isc, iilhi~judgmcniimpos-s imprisonmcnt, d\ menluicriminal monctar) penalties isduedurin
 imprisonment. All cnminJrmonctan penalties, c x c p t t h a e pqments made througR'th Fedcrsl Hurcsu ot I ' n w n ~ ' Inmate kinancia$
 Responsibilit\ Program, are made to the clerk d t h c mm

 The defendant shall receive credit for all payments previously made toward any criminal monetaty penalties imposed.



        Joint and Several

        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
        and corresponding payee, if appropriate.




 C]     The defendant shall pay the cost of prosecution.

 C]     The defendant shall pay the following court cost(s):

 C]     The defendant shall forfeit the defendant's interest in the following property to the United States:




 I'u! menk \hall beapplied in !he iollou~ngorder: ( I dsxssmcnt. ( 2 ) re?tilutiqn prlncipsl, ( 3 ) rcsritution invrebi, (4) fine principal,
 ( 5 ) fine inlaesr, (b) commuml). resrlrutlon, (7) pcndiec, and (8) costs. including cost oiprosecu~ionwd coun costs.
